




Dismissed and Memorandum Opinion filed November 16, 2006








Dismissed
and Memorandum Opinion filed November 16, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00732-CV

____________

&nbsp;

IPI INTEGRATED SYSTEMS GROUP (ISG),
A DIVISION OF INSTANT PHOTOS, INC. AND GREGG MULLINS, Appellants

&nbsp;

V.

&nbsp;

TENRY CONSTRUCTION, INC. D/B/A
TENRY SERVICE COMPANY, Appellee

&nbsp;



&nbsp;

On Appeal from the 125th District Court

Harris County, Texas

Trial Court Cause No. 2004-60594

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed June 4, 2006.&nbsp; On November 10, 2006,
appellants filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is
granted.

Accordingly,
the appeal is ordered dismissed.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

PER
CURIAM

Judgment rendered and Memorandum Opinion filed
November 16, 2006.

Panel consists of Justices Fowler, Edelman, and Frost.





